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 1 TRINETTE G. KENT (State Bar No. 222020)
     10645 North Tatum Blvd., Suite 200-192
 2 Phoenix, AZ 85028
 3 Telephone: (480) 247-9644
     Facsimile: (480) 717-4781
 4   E-mail: tkent@lemberglaw.com
                                                                                     JS-6
 5 Of Counsel to
     Lemberg Law, LLC
 6 A Connecticut Law Firm
 7 43 Danbury Road
     Wilton, CT 06897
 8   Telephone: (480) 247-9644
     Facsimile: (203) 653-3424
 9
     Attorneys for Plaintiff,
10 Helen S. Green
11
12                                 UNITED STATES DISTRICT COURT

13                               CENTRAL DISTRICT OF CALIFORNIA

14                                         WESTERN DIVISION

15 Helen S. Green,                                        Case No.: 2:15-cv-08363-JFW-JEM
16                 Plaintiffs,                            ORDER
17        vs.
18 Rash Curtis & Associates,
19                  Defendant.
20
21          Based on the Stipulation of counsel, the case is dismissed with prejudice, each party to bear
22 its own attorney fees and costs.
23
24 Date: January 19, 2016                                 ___________________________
25                                                       Judge: Hon. John F. Walter
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